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                         UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF OHIO
                                EASTERN DIVISION


IN RE: NATIONAL PRESCRIPTION                         MDL No. 2804
OPIATE LITIGATION
                                                     Case No. 1:17-md-2804
This document relates to:
                                                     Judge Dan Aaron Polster
Broward County, Florida v. Purdue Pharma
L.P., et al., Case No. 18-OP-45332 (N.D.
Ohio);

Cabell County Commission, West Virginia v.
AmerisourceBergen Drug Corp., et al., Case
No. 17-OP-45053 (N.D. Ohio);

City of Cleveland v. AmerisourceBergen Drug
Corp., et al., Case No. 18-OP-45132 (N.D.
Ohio);                                               PLAINTIFFS’ MOTION TO STRIKE AND
                                                      AMENDED MOTION FOR LEAVE TO
County of Monroe, Michigan v. Purdue                 FILE AMENDED COMPLAINTS UNDER
Pharma L.P., et al., Case No. 18-OP-45158                          SEAL
(N.D. Ohio);

The City of Chicago, Illinois v. Purdue Pharma
L.P., Case No. 17-OP-45169 (N.D. Ohio);

The County of Cuyahoga v. Purdue Pharma
L.P., et al., Case No. 17-OP-45004 (N.D.
Ohio); and

The County of Summit, Ohio., et al., v. Purdue
Pharma L.P., et al., Case No. 18-OP-45090
(N.D. Ohio).




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          Plaintiffs move to Strike Plaintiffs’ Motion for Leave to file Amended Complaints Under

Seal (ECF Doc. 253) and the corresponding Order granting said Motion (ECF Doc. 257) due to a

clerical error.1 Plaintiffs file this Amended Motion for Leave to File Amended Complaints Under

Seal.


                                        INTRODUCTION

          Pursuant to the Court’s Case Management Order One, ECF Doc. 232 (hereinafter “CMO

One”) and as advised by the Special Masters, Plaintiffs seek leave to file Amended Complaints

in the above-listed cases under seal on Wednesday, April 25, 2018. Plaintiffs file this Amended

Motion and Proposed Order (attached as Exhibit A) to ensure compliance with the following

Orders:

                 1.     CMO One;

                 2.     Protective Order Re: DEA’s ARCOS/DADS Database, ECF Doc. 167
                        (hereinafter “ARCOS Protective Order”); and

                 3.     Amended Agreed Confidentiality Order, filed in City of Chicago v.
                        Purdue Pharma L.P., Case No. 14-CV-04361, ECF Doc. 487 (N.D. Ill.)
                        (hereinafter “City of Chicago Confidentiality Order”), attached as Exhibit
                        B.

          Local Rule 5.2 states: “No document will be accepted for filling under seal unless a

statute, court rule, or prior court order authorizes the filing of sealed documents.” Loc. R. 5.2.

          On March 6, 2018, the Court issued a Protective Order regarding the “ARCOS Data,”

and stated:

1
  The correct Order from the City of Chicago v. Purdue Pharma L.P., Case No. 14-CV-04361,
(N.D. Ill.) that relates to protected information contained within the Amended Complaints is the
Amended Agreed Confidentiality Order (Case No. 14-CV-04361, ECF. Doc 487 (N.D. Ill.)), not
the Agreed Qualified Protective Order For Protected Health Information (Case No. 14-CV-
04361, ECF. Doc 386 (N.D. Ill.)).


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          If contained in a pleading, motion, or other document filed with this Court, any
          Designated Information must be marked with the applicable confidentiality
          designation, designated as “Subject to Protective Order,” and filed under seal with
          prior Court authorization. Only the portions of the filed document containing
          Designated Information are subject to being filed under seal, and a party shall file
          both a redacted version for the public docket and an unredacted version for
          sealing.

ARCOS Protective Order, at ¶ 8.

          In CMO One, the Court stated that, “all documents, including ESI, that were previously

produced by any Defendant in City of Chicago v. Purdue Pharma L.P., Case No. 14-CV-04361

(N.D. Ill.), shall be deemed produced to all Plaintiffs in MDL 2804 . . . .” CMO One, at ¶

(9)(k)(i). The Court also ordered in CMO One that:

          Unless and until other arrangements are made by this Court regarding these
          specific materials, and in the interests of expediting discovery, Plaintiffs in MDL
          2804 will be subject to any pre-existing Protective Orders or confidentiality
          agreements governing this material. As such, at this time, review by Plaintiffs and
          their experts of discovery that has been produced in other cases and which is
          deemed produced in this MDL is subject to any Protective Orders or
          confidentiality agreements entered in those cases. The entry of a Protective Order
          in this MDL proceeding, however, will supersede any pre-existing Protective
          Order.

CMO One, at ¶ (9)(k)(iv).

                                             ANALYSIS

          The Plaintiffs in the above-listed cases respectfully request leave to file their Amended

Complaints under seal in order to comply with CMO One, the ARCOS Protective Order, and the

City of Chicago Confidentiality Order. The Amended Complaints will contain information that is

subject to said Orders. Specifically, the Amended Complaints will contain:

    (1)      Information designated CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER
             by the ARCOS Protective Order; and

    (2)      Excerpts from documents produced in The City of Chicago, Illinois v. Purdue
             Pharma L.P., Case No. 14-CV-04361 (N.D. Ill.), which are subject to the City of
             Chicago Confidentiality Order, which binds Plaintiffs in MDL 2804 pursuant to CMO
             One.

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         As suggested by the Special Masters and in accordance with CMO One and the ARCOS

Protective Order, Plaintiffs request leave to file Amended Complaints under seal in the following

seven (7) cases:

         1. Broward County, Florida v. Purdue Pharma L.P., et al., Case No. 18-OP-45332
            (N.D. Ohio);

         2. Cabell County Commission, West Virginia v. AmerisourceBergen Drug Corp., et al.,
            Case No. 17-OP-45053 (N.D. Ohio);

         3. City of Cleveland v. AmerisourceBergen Drug Corp., et al., Case No. 18-OP-45132
            (N.D. Ohio);

         4. County of Monroe, Michigan v. Purdue Pharma L.P., et al., Case No. 18-OP-45158
            (N.D. Ohio);

         5. The City of Chicago, Illinois v. Purdue Pharma L.P., Case No. 17-OP-45169 (N.D.
            Ohio);

         6. The County of Cuyahoga v. Purdue Pharma L.P., et al., Case No. 17-OP-45004 (N.D.
            Ohio); and

         7. The County of Summit, Ohio., et al., v. Purdue Pharma L.P., et al., Case No. 18-OP-
            45090 (N.D. Ohio).

         Following a meet and confer with Defendants regarding any disputes about what

information should be kept confidential, Plaintiffs will file redacted versions of said Amended

Complaints in the public record. Plaintiffs respectfully request the option to proceed in this

manner so there are no inadvertent disclosures of Defendants’ confidential information or

information subject to the ARCOS Protective Order or the City of Chicago Confidentiality

Order.

         WHEREFORE, Plaintiffs respectfully request the Honorable Court to grant Plaintiffs’

Motion to Strike and Amended Motion for Leave to File Amended Complaints Under Seal.




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Dated April 25, 2018                      Respectfully submitted,

                                          s/Peter H. Weinberger
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                                          Plaintiffs’ Co-Liaison Counsel



                              CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on this 25th day of April 2018, I electronically filed the

foregoing with the Clerk of Court by using the CM/ECF System. Copies will be served upon

counsel of record by, and may be obtained through, the Court CM/ECF Systems.

                                          s/Peter H. Weinberger
                                          Peter H. Weinberger
                                          Plaintiffs’ Co-Liaison Counsel




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